 

Case: 2:21-cr-00089-SDM Doc #: 46-1 Filed: 08/02/21 Page: 1 of 1 PAGEID #: 341

CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE STATE OF NEVADA

 

I, Elizabeth A. Brown, Clerk of the Supreme Court of the State of Nevada, do hereby
certify that CHRISTOPHER S. MISHLER (Bar No. 14402) was on the 29th day of November,
2017 duly admitted as an attorney and counselor at law to practice in all the courts of the State of
Nevada; and that the Supreme Court of Nevada is the highest court in this state;

I FURTHER CERTIFY that the said CHRISTOPHER S. MISHLER is now in good
standing; and that his name now appears on the Roll of Attorneys in this office.

IN TESTIMONY WHEREOF, I HAVE HEREUNTO SET MY HAND
AND AFFIXED THE OFFICIAL SEAL OF SAID SUPREME COURT,
AT MY OFFICE IN CARSON CITY, NEVADA, THIS 10" DAY OF MAY,
2021,

   
 
 

ELIZABETH A. BROWN, CLERK
SUPREME COURT E
STATE OF, ADA

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Chy¢@f Deputy Clerk

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